
427 So.2d 438 (1983)
William R. LEBLANC
v.
OPT, INC., et al.
No. 83-C-0018.
Supreme Court of Louisiana.
February 11, 1983.
Denied.
DIXON, C.J., and DENNIS and BLANCHE, JJ., would grant the writ.
LEMMON, J., concurs with reasons.
*439 LEMMON, Justice, concurring in denial of writ application.
Although the lower courts' conclusion that the corporate veil should be pierced is extremely doubtful from the facts contained in the court of appeal opinion, 421 So.2d 984, relator admits that Opt, Inc. has substantial assets in excess of the amount awarded LeBlanc. Therefore, any inquiry into Friedberg's individual liability in this suspensive appeal would be purely academic.
